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 17
              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 18
 19   LUIS LORENZO VARGAS,                   Case No. 2:16-cv-08684-SVW-AFM
 20                                          OPPOSITION TO DEFENDANT
      Plaintiff,                             CITY OF LOS ANGELES’ MOTION
 21                                          FOR PARTIAL SUMMARY
                                             JUDGMENT OF PLAINTIFF’S
 22   v.                                     MUNICIPAL LIABILITY CLAIM
 23                                HON. STEPHEN V. WILSON
      CITY OF LOS ANGELES; LOS Courtroom 10A
 24   ANGELES POLICE DEPARTMENT;
      COUNTY OF LOS ANGELES;
 25   OFFICE OF THE LOS ANGELES
      DISTRICT   ATTORNEY;    LOS
 26   ANGELES            SHERIFF’S
      DEPARTMENT;         MONICA
 27   QUIJANO;  RICHARD    TAMEZ;
      SCOTT SMITH; and DOES 1-10
 28

      OPP. TO DEFS.’ MOTION FOR PARTIAL SUMM. J’MENT         2:16-CV-08684-SVW-AFM
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      INCLUSIVE,
  1                                          Date: June 10, 2019
                                             Time: 1:30 p.m.
  2   Defendants.                            Complaint Filed: November 12, 2015
                                             Trial Date: June 25, 2019
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                         UNITED STATES DISTRICT COURT
 17
              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 18
 19   LUIS LORENZO VARGAS,                   Case No. 2:16-cv-08684-SVW-AFM
 20                                          OPPOSITION TO MOTION FOR
      Plaintiff,                             PARTIAL SUMMARY JUDGMENT
 21                                          OF PLAINTIFF’S MUNICIPAL
                                             LIABILITY CLAIM
 22   v.
                                             HON. STEPHEN V. WILSON
 23                                          Courtroom 10A
      CITY OF LOS ANGELES; LOS
 24   ANGELES POLICE DEPARTMENT;
      COUNTY OF LOS ANGELES;
 25   OFFICE OF THE LOS ANGELES
      DISTRICT   ATTORNEY;    LOS
 26   ANGELES            SHERIFF’S
      DEPARTMENT;         MONICA
 27   QUIJANO;  RICHARD    TAMEZ;
      SCOTT SMITH; and DOES 1-10
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      INCLUSIVE,
  1                                                  Date: June 10, 2019
                                                     Time: 1:30 p.m.
  2   Defendants.                                    Complaint Filed: November 12, 2015
                                                     Trial Date: June 25, 2019
  3
  4           Plaintiff LUIS LORENZO VARGAS, by and through his attorneys, Jan Stiglitz,
  5   Alexander Simpson, Brett Boon, and Craig Benner, hereby submits this Opposition to
  6   Defendants’ Motion for Partial Summary Judgment of Plaintiff’s Municipal Liability
  7   Claim (“MPSJ”), filed with this Court on May 15, 2019.
  8                                                 I.
  9        Defendants Violated Their Obligations to Train and Supervise Their Agents and
 10       Employees in the Proper Handling and Disclosure of Brady Material, in Violation of
 11                                              Monell
 12           Defendants have argued Plaintiff cannot establish a Monell claim because Los
 13   Angeles Police Department (“LAPD”) officers were properly trained and supervised in
 14   their Brady obligations. Even a cursory examination of Defendants’ arguments shows the
 15   factual inaccuracies and legal inconsistencies upon which these arguments are based.
 16   A.      Defendants Are Not Entitled to Summary Judgment on Vargas’s Monell Claim
 17           It has long been established that municipal entities may be named defendants in a
 18   Section 1983 lawsuit. Monell v. Dep’t of Soc. Servs., 436 U.S. 658, 98 S. Ct. 2018 (1978)
 19   (“Monell”). There are numerous avenues to establishing a Monell claim, including:
 20          A § 1983 plaintiff may satisfy their burden by establishing a custom or practice that
 21           although not officially adopted, is a pervasive, long-standing practice that has the
 22           force of law. Gregory v. City of Louisville, 444 F.3d 725 (6th Cir. 2006) [City held
 23           to be an appropriate § 1983 defendant for failure to train on handling exculpatory
 24           evidence and for its practice of suggestive shows].
 25          A § 1983 plaintiff may establish their claim by pointing to department failures
 26           including, but not limited to, a failure to train, failure to supervise, failure to
 27           discipline, or failure to adequately screen. City of Canton v. Harris, 489 U.S. 378
 28           (1989).
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  1        A § 1983 claim may be stablished by pointing to a particular decision or act made
  2         by someone who is asserted to be a final policymaker for the entity. City of St.
  3         Louis v. Praprotnik, 485 U.S. 112, 123 (1998).
  4        “The plaintiff may prove that an official with final policy-making authority ratified
  5         a subordinate’s unconstitutional decision or action.” Avalos v. Baca, 596 F.3d 583,
  6         588 (9th Cir. 2010).
  7         The Ninth Circuit Court of Appeals has also held that once evidence supporting
  8   an allegation of delegating policymaking authority for § 1983 lability purposes is
  9   presented, the ultimate determination becomes a question of fact inappropriate for
 10   summary judgment. See Thomas v. Cty. of Riverside, 763 F.3d 1167, 1171 (9th Cir.
 11   2014) [reversing the District Court’s granting on summary judgment for the County
 12   Defendant based on a failure to present supporting evidence, holding that evidence was
 13   presented supporting the allegation, creating a question of fact, and therefore the granting
 14   of summary judgment was improper]; see also Ulrich v. City & Cty. of S.F., 308 F.3d 968,
 15   986 (9th Cir. 2002).
 16         Here, Vargas has asserted claims based on the LAPD’s failure to properly train
 17   and supervise its officers in the disclosure of exculpatory material, or potentially
 18   exculpatory material, and on the scope of the officers’ obligations under Brady. Based
 19   on Brewster v. Shasta County, 275 F.3d 803, 805 (9th Cir. 2001), the LAPD’s failure to
 20   supervise Defendants Quijano and Smith can be a basis for liability under Monell.
 21         Decisions regarding the supervision and discipline of employees are part of the
 22   City’s “administrative oversight system” system. See Pitts v. County of Kern, 17 Cal.4th
 23   340, 363 (1998) [the conclusion that the district attorney is a state actor “might differ were
 24   plaintiffs challenging a district attorney’s alleged action or inaction related to hiring or
 25   firing an employee.”] Here, the City, through the actions of the LAPD and its agents,
 26   failed to adequate train and supervise its employees in the proper handling and disclosure
 27   of Brady material, and this failure directly led to Vargas being deprived of critical third-
 28   party culpability evidence which could have established to the jury that another individual
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  1   was responsible for the sexual assaults of which he was accused. “Unlike the California
  2   Supreme Court, [the Ninth Circuit] reach[es] a consistent conclusion here:
  3   [municipalities] should be held liable for their administrative policies and procedures,
  4   including the training of their employees and the hiring and firing of those employees.”
  5   Goldstein v. City of Long Beach, 715 F.3d 750, 764 (9th Cir. 2013), emphasis in original.
  6         Defendants allege Plaintiff’s claims rely on “prov[ing] the existence of a municipal
  7   policy or custom based solely on the occurrence of a single incident or unconstitutional
  8   action by a non-policymaking employee.” MPSJ, p. 5. This case does not present a
  9   narrowly-defined, one-time constitutional violation of the type contemplated by
 10   Defendants’ cited cases of Davis v. City of Ellensburg, 869 F .2d 1230, 1233 (9th Cir.
 11   1989) and City of Oklahoma City v. Tuttle, 471 U.S. 808, 823-24 (1985). The facts
 12   regarding the investigation—and the completely inadequate disclosure of exculpatory
 13   material, including information about other sexual assaults with identical modus operandi
 14   occurring after Plaintiff was arrested—are in fact mere symptoms of the disease with which
 15   the LAPD was infected at the time of Plaintiff’s case. At bottom, LAPD simply did not
 16   bother to train its employees on their Brady obligations, did not bother to supervise its
 17   employees to ensure those obligations were being honored, and did not discipline those
 18   employees when those obligations were not met.
 19         One of the primary ways upon which to establish a Monell claim is through
 20   constitutional violations as a result of a practice or custom that has the force of law, and
 21   for which the entity may be held responsible under Section 1983. Gregory v. City of
 22   Louisville, supra, 444 F.3d 725; see also Cash v. Hamilton Cty. Dep't of Adult Prob., 388
 23   F.3d 539 (6th Cir. 2004); Price v. Sery, 513 F.3d 962 (9th Cir. 2008) [holding that
 24   although the policy as written did not facially violate Plaintiff’s constitutional rights, a
 25   question of fact existed as to the police department’s interpretation of it and longstanding
 26   custom or practice that could establish a Monell claim under Section 1983]).
 27         As noted ante, Defendants had no clearly established policy with regards to the
 28   disclosure of Brady material, even thirty-six years after its decision and numerous cases
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1    interpreting and further defining its mandates. Indeed, the individual proffered by
2    Defendant LAPD as the Person Most Knowledgeable in Brady training and obligations,
3    Daniel Jenks, testified in his deposition that the LAPD performed absolutely no training
4    whatsoever to its employees on Brady or its obligations until March 2000, the year after
5    Plaintiff’s trial and conviction. Jenks Depo, p. 22:19-22.         In fact, Jenks—and, by
6    extension, the LAPD—testified that he believed Brady, published in 1963, was decided
7    in 1998. Jenks Depo, pp. 22:25, 23:1. Instead, Jenks stated LAPD training was focused
8    on “discovery” obligations, and the policy was to turn over all “discovery” to the district
9    attorney. (Defendants’ Statement of Uncontroverted Facts, #5.) Discovery obligations
10   are creatures of statute. Brady obligations are much broader, and derive directly from
11   the Fourteenth Amendment to the United States Constitution. They are qualitatively
12   different.
13          The two supporting documents submitted by Defendants do not help their
14   position that this “discovery” training sufficed to train its employees on Brady at the time
15   of the Vargas investigation. Indeed, these documents exemplify the dearth of any
16   training, meaningful or otherwise, on Brady or its obligations. The first document,
17   Exhibit 1 of the MPSJ, is a “Legal Bulletin” dated February 9, 1976, which does not even
18   mention Brady—a case which had been decided 13 years prior. The document provides
19   explanations of what qualifies as “discovery” and what is “subject to discovery,” and seems
20   primarily to have been composed to assuage concerns that a then-recent move to more
21   informal discovery procedures would not “impose burdensome duties” on the officers
22   reading it. MPSJ Exhibit 1, pp. 13-14. As a policy document, purportedly to educate
23   officers on their discovery responsibilities and obligations, it is woefully inadequate. As
24   a training document on Brady, and as evidence the LAPD trained its officers properly
25   before or during the Vargas investigation, it is useless. In fact, the absence of information
26   regarding Brady, its scope, its requirements, or its ramifications means this document
27   should be more appropriately considered as evidence Brady training was not performed.
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1           The second document, dated March 1, 2000, and entitled “Impact of Employee
2    Conduct on Credibility as a Witness,” is the document to which LAPD PMK Daniel
3    Jenks referred to in his deposition. There are numerous problems with Defendants’ use
4    of this document to show LAPD agents and employees were properly trained on Brady
5    during the time of the Vargas investigation. It is legally inaccurate, as it states that there
6    is an “ethical” obligation to turn over exculpatory information to the prosecution. MPSJ
7    Exhibit 2, p. 16. Brady, of course, is not an ethical obligation, but a legal obligation one.
8    The document also states that “[t]he burden to disclose such evidence rests solely with
9    the prosecutor and not with the agencies who submit a case or other evidence to the
10   prosecutorial agency.” MPSJ Exhibit 2, p. 16. The Supreme Court, in Kyles v. Whitley,
11   514 U.S. 419 (1995) (decided five years before this memo was promulgated), explained
12   definitively that Brady imposed a burden on both the prosecution and the police to
13   disclose exculpatory or potentially exculpatory evidence to the defense. See also Tatum
14   v. Moody, 768 F.3d 806, 816 (“Where . . . investigating officers, acting with deliberate
15   indifference or reckless disregard for a suspect's right to freedom from unjustified loss of
16   liberty, fail to disclose potentially dispositive exculpatory evidence to the prosecutors,
17   leading to the lengthy detention of an innocent man, they violate the due process
18   guarantees of the Fourteenth Amendment.”).
19          Most importantly, however, and as noted ante, this memo was published in March
20   of 2000, the year after the Vargas investigation. Defendants cannot use a postdated
21   document to establish adequate training was performed at some point in the past before
22   the document’s creation. Even if the analysis was legally sound—and it is not—it does not
23   show what training was performed on Brady at the time of the Vargas investigation, when
24   Defendants failed to disclose critical third-party culpability information on other sexual
25   assaults occurring before and after Vargas was arrested.1
26
     1

27    The memo—“Impact of Employee Credibility as a Witness”—is also clearly not one designed to train
     LAPD officers on Brady obligations for the purposes of proper disclosure. Rather, the focus is to warn
28   LAPD officers that they should not falsify police reports or make false statements to LAPD investigators
     conducting investigations into the misconduct of fellow employees, and that an officer may be disciplined
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1           In sum, the training and policies of the LAPD, obviously, differed so significantly
2    from Brady that multiple critical pieces of exculpatory and potentially exculpatory
3    material never made it into the hands of the prosecution or Vargas’s defense team.
4    Neither the prosecution nor Vargas received a copy of the “Serial Rapist Book,”
5    compiled by Defendants Quijano and Smith,2 and neither the prosecution nor Vargas
6    were informed of other sexual assaults occurring with identical modus operandi after
7    Vargas was arrested but before he was convicted. Defendants claim its agents and
8    employees were adequately trained, but these failures show quite the opposite.
9           A municipality is liable when the constitutional injury to plaintiff resulted from
10   implementation or ‘execution of a government’s policy or custom, whether made by its
11   lawmakers or by those . . . said to represent official policy.” Monell v. Dep’t of Soc.
12   Servs., 436 U.S. 658, 694 (1978). Additionally, municipal liability under Section 1983
13   may be based on a policymaker’s actual or constructive knowledge of the alleged
14   unconstitutional policy. Cox v. City of Dall., 430 F.3d 734 (5th Cir. 2005); see also Baron
15   v. Suffolk County Sheriff’s Dept., 402 F.3d 225, 243 (1st Cir. 2005).
16   B.     The LAPD Failed to Train, Supervise, and/or Discipline its Employees, Violating
17          Mr. Vargas’s Constitutional Rights
18          The second way in which Mr. Vargas presents questions of fact as to the LAPD’s
19   Monell liability is through its failures to train, supervise, and discipline. City of Canton v.
20
21   or even fired for doing so. MPSJ Exhibit 2, pp. 17-18. The memo explains that the impact of Brady
     “imposes serious personnel considerations,” and an officer who is found to have falsified reports or
22   given false information “may no longer be called upon as an effective witness in a criminal matter” if
23   they are found to have lied, because Brady may require evidence of that officer’s prior instances of
     dishonesty in a subsequent, unrelated proceeding. MPSJ Exhibit 2, pp. 17-18. To say that this memo
24   was used by LAPD to train its officers on the scope and obligations of Brady and its progeny is
     misleading to the point of being deliberately disingenuous.
25   2
       In fact, until very recently, Defendants made no claim that the “Serial Rapist Book” had ever been
     turned over to the District Attorney. The primary defenses to the Brady claim throughout the case have
26   been that the “Serial Rapist Book” was not Brady material, that the Brady obligation was satisfied when
27   Defendant Quijano made a passing comment to her “book” during the preliminary hearing, that there
     was no affirmative obligation to turn over Brady material and the defense had to ask, and that the error
28   was harmless because defense counsel attended a line-up regarding one sexual assault for which Vargas
     was not charged.
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1    Harris, 489 U.S. 378 (1989). In City of Canton, the Supreme Court held that a
2    municipality may be liable for the underlying constitutional violation committed by a non-
3    policymaking employee if the municipality’s policy is objectively deliberately indifferent
4    to the likelihood a particular constitutional violation would occur. Id. at 483. The Court
5    held that there are two ways in which plaintiff may prove this: 1) plaintiff may argue there
6    was an obvious need to train; or, 2) constructive notice of an apparent or series of
7    unconstitutional events without the municipality’s implementation of training,
8    supervision, or discipline; either scenario supports Monell Section 1983 liability. Id. at
9    397.
10          Defendant LAPD conducted no training, performed inadequate to nonexistent
11   supervision, and did not discipline its employees at any point with regard to its
12   investigation and obligations to disclose pursuant to Brady, and such failures clearly
13   violated Mr. Vargas’s Constitutional rights.
14          As to training, LAPD PMK Daniel Jenks stated LAPD had no established training
15   materials, established policies, or procedures, and provided no training whatsoever on
16   Brady until March of 2000, after the investigation into Vargas’s case. Because there were
17   no policies or procedures, and because Brady was not even addressed until after Vargas’s
18   trial, then obviously LAPD employees and agents were not supervised on their
19   obligations—and, equally obviously, nobody was disciplined for failing to honor their
20   obligations. Clearly, Plaintiff can establish Monell liability for failure to train, supervise,
21   and discipline.
22   C.     Particular Decisions or Actions Made by individuals Considered to be Final
23          Policymakers for Defendant LAPD Directly Violated Mr. Vargas’s Constitutional
24          Rights.
25          Section 1983 liability may also attach to a municipal entity by way of a single
26   decision by an official with policymaking authority in a given area. Pembaur v. City of
27   Cincinnati, 475 U.S. 469, 106 S. Ct. 1292 (1986) (County could be held liable for a single
28
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1    decision by a county prosecutor, which authorized an unconstitutional entry onto
2    plaintiff’s clinic).
3           The Supreme Court has held that who constitutes a final policymaker is a question
4    of state law. City of St. Louis v. Praprotnik, 485 U.C. 112, 113 (1988). Most Courts have
5    determined this to mean that an individual qualifies as a final policymaker if there is no
6    review of an individual’s decision. Quinn v. Monroe Cty., 330 F.3d 1320 (11th Cir.
7    2003); see also Tharling v. City of Port Lavaca, 329 F.3d 422 (5th Cir. 2003); Gernetzke
8    v. Kenosha Unified Sch. Dist. No. 1, 274 F.3d 464 (7th Cir. 2001). Additionally, an
9    individual may be a final policymaker in one context and not another. Arendale v. City
10   of Memphis, 519 F.3d 587 (6th Cir. 2008) (finding that the chief of police is the final
11   policymaker for suspensions ten days or less because there is no subsequent review, but
12   otherwise he does not because the Civil Service Commission reviews suspensions lasting
13   more than ten days). Thus, whether an individual qualifies as a final policymaker and in
14   what context is somewhat fluid, and many questions of fact are implicit in the
15   determination.
16          Here, because of the dearth of supervision, training, or discipline in the office, the
17   decisions of what to do on a case—for example, the conduct and supervision of internal
18   investigators—fell to the individual employees, and without any structured supervision,
19   these employees determined what policies they would employ or enforce. Critically,
20   there was no subsequent review process for decisions made by investigators within the
21   LAPD regarding Brady on a day-to-day basis, and thus these policymakers’ decisions may
22   be attributed directly to the LAPD.
23          Thus, critical decisions in this case were made by either Defendants Quijano or
24   Smith, without any input, supervision, direction, or review. These included the decision
25   not to disclose the “Serial Rapist Book” to the prosecutor, and not to disclose other sexual
26   assaults with identical modus operandi committed by a third party after Mr. Vargas was
27   arrested. These decisions and actions directly violated Mr. Vargas’s Constitutional rights,
28
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1    and they were made and performed without any supervision or oversight by anyone other
2    than themselves.
3    D.    Individuals With Final Policy-making Authority Ratified Defendants Quijano’s
4          and Smith’s Unconstitutional Decisions and Actions, in Violation of Mr. Vargas’s
5          Constitutional Rights.
6          As yet another possible way to support a Monell claim, “[t]he plaintiff may prove
7    that an official with final policy-making authority ratified a subordinate’s unconstitutional
8    decision or action.” Avalos v. Baca, 596 F.3d 583, 588 (9th Cir. 2010).
9          Clearly, the pattern and practice of Defendant LAPD was to allow its individual
10   detectives to make decisions about everything regarding the case, including whether to
11   disclose Brady material, as it did not even bother to train its detectives on what their
12   obligations were. This ratification by Defendants’ policymakers directly violated Mr.
13   Vargas’s Constitutional rights, and material questions of fact remain as to each of these
14   issues which he should be given the opportunity to present to the trier of fact.
15   E.    Defendants' Attempts to Narrowly Frame the Issue Are Incorrect, and Their
16         Arguments Are Contrary to This Court's Holdings on the Prior Motion for
17         Summary Judgment.
18         Defendants argue that “[c]ontrary to any existing precedent or statute, Plaintiff’s
19   SAC claims that it was clearly established in the 1996-2000 time period at issue in this
20   case that police officers were obligated to disclose reports of ongoing, unsolved similar
21   crimes.” (MPSJ, p. 6.)
22         Not so. In fact—and as this Court has already concluded, in denying Defendants’
23   prior Motion for Summary Judgment and claim of qualified immunity—it was clearly
24   established in the time period at issue that police officers were obligated to disclose
25   exculpatory material or that information which could lead to exculpatory material
26   pursuant to Brady. Indeed, all circuits to have passed on the issue agree that, at the time
27   of Luis Vargas’s trial in 1999, a police officer’s obligations to disclose exculpatory
28   evidence was clearly defined. See, e.g., Drumgold v. Callahan, 707 F.3d 28, 43 (1st Cir.
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1    2013) (In the First Circuit, “there can be no doubt that, under the line of cases running
2    from Mooney and Pyle to Brady, the law was firmly settled at the time of Drumgold’s
3    criminal trial [in 1989] that a law enforcement officer may not deliberately suppress
4    material evidence that is favorable to a defendant.”); Thomas v. City of Philadelphia, 290
5    F.Supp.3d 371, 384 (E.D. Penn. 2018) (In the Second Circuit, Brady obligations on
6    police officers “became clearly established in 1995, when the Supreme Court decided
7    Kyles v. Whitley, 514 U.S. 419.”); Owens v. Baltimore City State’s Attorneys Office, 767
8    F.3d 379, 401 (4th Cir. 2014) (In the Fourth Circuit, “by 1988, a police officer violates
9    clearly established constitutional law when he suppresses material exculpatory evidence
10   in bad faith. Accordingly, we hold that the Officers were clearly on notice of the
11   impermissibility of their conduct in 1988, the time of the alleged violations.”); Hernandez
12   v. Terrones, 397 Fed.Appx. 954, 971 (5th Cir. 2010) (In the Fifth Circuit, “it was clearly
13   established law in 1994 that Brady applied to police officers on facts such as those
14   presented in this case.”); Moldowan v. City of Warren, 578 F.3d 351, 382 (6th Cir. 2009)
15   (In the Sixth Circuit, Brady obligations are “clearly established” at least as of 1990.); Steidl
16   v. Fermon, 494 F.3d 623, 632 (7th Cir. 2007) (In the Seventh Circuit, “the duty to disclose
17   was clearly established as of 1979 and 1980.”); McMillan v. Johnson, 88 F.3d 1554 (11th
18   Cir. 1996) (In the Eleventh Circuit, “in 1987 and 1988 a police officer had a clearly
19   established duty under Brady to not intentionally withhold exculpatory or impeachment
20   evidence from the prosecutor”).
21          The Ninth Circuit has held that an individual officer’s Brady obligations have
22   existed and been clearly established since at least 1978. In fact, this issue was decisively
23   litigated against the County of Los Angeles not more than four years ago in a case arising
24   out of this very Court, in front of Your Honor: Carrillo v. County of Los Angeles, 798
25   F.3d 1210 (9th Cir. 2015). In that case—which, like the instant case, turned on whether
26   Brady obligations on police officers were clearly established by the time of the
27   investigation—the Ninth Circuit agreed with Your Honor’s determination, and
28   elaborated:
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1               The officers argue the law did not clearly establish that they were
         bound by Brady at all in 1984 and 1991. This contention lacks merit
2
         because it was clearly established well before the events in these cases that
3        police officers were bound to disclose material and exculpatory evidence.
4               Brady held “the suppression by the prosecution of evidence favorable
         to an accused upon request violates due process where the evidence is
5
         material either to guilt or to punishment, irrespective of the good faith or
6        bad faith of the prosecution.” 373 U.S. at 87, 83 S.Ct. 1194. This holding
7        was an “extension” of Mooney v. Holohan, 294 U.S. 103, 55 S.Ct. 340, 79
         L.Ed. 791 (1935), which held the government’s presentation of testimony it
8
         knew to be false, as well as its suppression of evidence that would have
9        impeached that testimony, could require reversal of a conviction. See Brady,
10       373 U.S. at 86, 83 S.Ct. 1194.
                ...
11
                Just one year after Brady, the Fourth Circuit held police officers as
12       well as prosecutors were bound to disclose material, exculpatory evidence,
13       explaining:
                it makes no difference if the withholding is by officials other
14
                than the prosecutor. The police are also part of the
15              prosecution, and the taint on the trial is no less if they, rather
16              than the State’s Attorney, were guilty of the nondisclosure. . . .
                The duty to disclose is that of the state, which ordinarily acts
17
                through the prosecuting attorney; but if he too is the victim of
18              police suppression of the material information, the state’s
19              failure is not on that account excused. We cannot condone the
                attempt to connect the defendant with the crime by
20
                questionable inferences which might be refuted by undisclosed
21              and unproduced documents then in the hands of the police.
22       Barbee v. Warden, 331 F.2d 842, 846 (4th Cir.1964).
                Requiring police officers as well as prosecutors to disclose material
23
         and exculpatory evidence follows logically from Brady’s rationale. “As far as
24       the Constitution is concerned, a criminal defendant is equally deprived of
25       his or her due process rights when the police rather than the prosecutor
         suppresses exculpatory evidence because, in either case, the impact on the
26
         fundamental fairness of the defendant’s trial is the same.” Moldowan v. City
27       of Warren, 578 F.3d 351, 379 (6th Cir.2009). Because police officers play
28       an essential role in forming the prosecution’s case, limiting disclosure

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1        obligations to the prosecutor would “undermine Brady by allowing the
         investigating agency to prevent production by keeping a report out of the
2
         prosecutor’s hands.” United States v. Blanco, 392 F.3d 382, 388 (9th
3        Cir.2004) (quoting United States v. Zuno–Arce, 44 F.3d 1420, 1427 (9th
4        Cir.1995)).
                 This circuit adopted Barbee’s logic well before the investigations
5
         here. In United States v. Butler, 567 F.2d 885, 891 (9th Cir.1978), we
6        rejected the government’s argument that no Brady violation occurred
7        because investigative agents, and not the prosecutor, were responsible for
         the nondisclosure of promises made to certain prosecution witnesses,
8
         explaining:
9                [t]he prosecutor is responsible for the nondisclosure of
10               assurances made to his principal witnesses even if such
                 promises by other government agents were unknown to the
11
                 prosecutor. Since the investigative officers are part of the
12               prosecution, the taint on the trial is no less if they, rather than
13               the prosecutor, were guilty of nondisclosure.
         Id. (citing Barbee, 331 F.2d at 846) (emphasis added). Butler thus made
14
         unmistakably clear that police officers and prosecutors alike share an
15       obligation to disclose “pertinent material evidence favorable to the defense.”
16       Id. at 888 (quoting United States v. Gerard, 491 F.2d 1300, 1302 (9th
         Cir.1974)).
17
                 The officers argue here that Butler did not clearly establish that
18       officers are subject to Brady because it described the disclosure obligation
19       in terms of the prosecutor rather than the police officer. But Butler
         undisputably put police officers on notice that their failure to disclose Brady
20
         information would constitute a violation the defendant’s constitutional
21       rights. It “taught police officers how to conform their conduct to the law,”
22       and “[a] police officer acting after the issuance of th[is] decision [ ] ... could
         not have thought that the suppression of material exculpatory evidence
23
         would pass constitutional muster.” Owens v. Baltimore City State’s
24       Attorneys Office, 767 F.3d 379, 400 (4th Cir. 2014) (explaining that, even
25       though circuit cases including Barbee described the duty to disclose in terms
         of the prosecutor, they put officers on notice that withholding of Brady
26
         material would violate clearly established law).
27               Because “clearly established law” includes “controlling authority in
28       [the defendants’] jurisdiction,” Butler clearly established in 1978 that police

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1           officers have a duty to disclose Brady material. See Wilson v. Layne, 526
            U.S. 603, 617, 119 S.Ct. 1692, 143 L.Ed.2d 818 (1999); Boyd v. Benton
2
            Cnty., 374 F.3d 773, 781 (9th Cir.2004) (explaining that sources of “clearly
3           established law” include decisions of the Supreme Court or this circuit); see
4           also Hope v. Pelzer, 536 U.S. 730, 741–45, 122 S.Ct. 2508, 153 L.Ed.2d
            666 (2002) (holding defendants’ conduct violated clearly established law in
5
            light of binding circuit precedent).
6
     Carrillo v. County of Los Angeles, supra, 798 F.3d at 1219-1221.
7
            Defendants attempt to narrow the focus of the inquiry to whether it was “clearly
8
     established . . . that police officers were obligated to disclose reports of ongoing, unsolved
9
     similar crimes” at the time of the Vargas investigation. MPSJ, p. 6. Obviously, this
10
     Court’s prior determination, denying Defendants’ prior Motion for Summary Judgment
11
     on qualified immunity grounds—wherein Defendants asked the Court to narrow the
12
     inquiry in the same manner—should have indicated to Defendants that this is not the
13
     question or viable line of argument. Indeed, as other courts have stated, the question of
14
     whether rights are “clearly established” for the purposes of Section 1983, Brady, and
15
     qualified immunity is quite different from Defendants allege:
16
            What remains is the question whether this right was clearly established, at
17          the requisite level of specificity, at the time the ISP Officials acted. A plaintiff
18          can show that a right is “clearly established” by statute or constitution in at
19          least two ways: (1) he can point to an analogous case establishing the right to
            be free from the conduct at issue; or (2) he can show that the conduct was
20          “so egregious that no reasonable person could have believed that it would
21          not violate clearly established rights.” Smith v. City of Chicago, 242 F.3d
22          737, 742 (7th Cir.2001).
     Steidl v. Fermon, supra, 494 F.3d at 632. There are numerous analogous cases, some of
23
     which are cited above, which establish Mr. Vargas’s right to be free from the
24
     unconstitutional conduct in which Defendants engaged during this investigation. Their
25
     conduct—failing to train its officers on how to handle Brady material, failing to supervise
26
     officers in the handling of Brady material, failing to discipline officers when they mis-
27
     handled Brady material, and the abject failure of the individual officers to turn over said
28
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1    material—was clearly egregious, and unquestionably violated Mr. Vargas’s rights. As such,
2    Defendants have failed to show they are entitled to summary judgment.
3                                                       II.
4         The Defendants Are Not Entitled to Summary Judgment on Plaintiff's Claim of
5                                      Respondeat Superior Liability
6           Defendants also allege that they are entitled to summary judgment on Mr. Vargas’s
7    claim of respondeat superior liability.3 They argue that, pursuant to Cal. Gov. Code §
8    954.4, Mr. Vargas’s state law claim should be barred. Not so.
9           Section 954.4 provides that no suit for money or damages may be brought against
10   a public entity until a written claim has been presented to that entity and been acted upon
11   or has been rejected. Cal. Gov. Code § 954.4. A claim presented before a public entity
12   is required to show: (1) the date, place, and other circumstances that gave rise to the claim;
13   (2) a general description of the injury, damage, or loss incurred; and (3) the names of the
14   public employees causing the injury, damage, or loss. Cal. Gov. Code § 910. The
15   purpose of the statute is to give the public entity sufficient notice for it to investigate the
16   claims and settle them, not to eliminate meritorious ones. Stockett v. Ass'n of Cal. Water
17   Agencies Joint Powers Ins. Auth., 34 Cal.4th 441, 446 (2004). A claim need not specify
18   each particular act that caused injury. Id. A complaint with additional claims and facts
19   beyond those given in a claim to a public entity is not defective so long as the complaint
20   is not based on an entirely different set of facts. Id. “Only where there has been a
21   complete shift in allegations, usually involving an effort to premise civil liability on acts or
22   omissions committed at different times or by different persons than those described in
23   the claim, have courts generally found the complaint barred.” Id. (citation and quotations
24   omitted). Where the complaint merely elaborates detail to a claim, and is predicated on
25
26   3
       It is not entirely clear where Defendants’ argument on this issue begins. Defendants’ Table of Contents
27   lists a Section IV, starting on page 7 and entitled “PLAINTIFF’S THIRD CAUSE OF ACTION FOR
     STATE LAW RESPONDEAT SUPERIOR LIABILITY FAILS AS A MATTER OF LAW.” No
28   such section IV exists, although there are a few sentences raising the issue on pages 7 and 8. Out of an
     abundance of caution, Vargas will address these failing arguments here.
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1    the same fundamental actions, courts generally find that the claim fairly reflects the facts
2    pled in the complaint. Id.
3            In the instant case, Plaintiff Luis Vargas alleged in his Notice of Claim that LAPD
4    failed to disclose Brady material related to the Teardrop Rapist and the unrelated sexual
5    assaults which were later linked through DNA to the crimes for which Vargas was
6    convicted.4 LAPD failed to train, supervise, and enact proper policies regarding Brady,5
7    the sharing of information among districts and with fellow officers,6 and failed “to train,
8    supervise, and/or discipline its employees and agents, including Defendants, regarding
9    their obligations to document and disclose exculpatory evidence pursuant to their Brady
10   obligations.”7 The operative facts in the Notice of Claim describe the dates, places, and
11   other circumstances that gave rise to Mr. Vargas’s claims; provide detailed descriptions
12   of the injury, damage, or loss incurred; and name the names of the public employees who
13   caused the injuries to Mr. Vargas.
14           These allegations clearly provided more than “sufficient notice for [Defendants] to
15   investigate the claims and settle them.” Stockett v. Ass'n of Cal. Water Agencies Joint
16   Powers Ins. Auth., supra, 34 Cal.4th at 446. The complaint alleges no new facts, much
17   less entirely different ones, than the ones presented in the claim. Defendants are wrong,
18   and they are not entitled to summary judgment on this claim.
19                                                  III.
20                                  Plaintiff’s Opposition is Timely
21           Any contention Defendants may make that Plaintiff’s Opposition is untimely is
22   without merit and demonstrably false. At the Status Conference held on April 15, 2019,
23   the Court ordered Defendants to file their Motion no later than May 15, 2019. No
24   briefing schedule was established by the Court at that time, nor did the Court set a
25
26
     4

27     Claim for Damages, MPSJ Exhibit 4A, p. 17.
     5
       MPSJ Exhibit 4A, p. 16.
     6
28     MPSJ Exhibit 4A, p. 17.
     7
       MPSJ Exhibit 4A, p. 18.
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1    specified briefing schedule in its Minute Order confirming Defendants’ May 15, 2019
2    deadline. See Dkt. No. 188.
3          Although informal conversation may have taken place with the Clerk following the
4    hearing and after Judge Wilson left the bench, such informal discussion is not tantamount
5    to a court order.
6          Thereafter, Defendants filed their Motion on May 15, but due to scheduling it to
7    be heard on June 10, 2019, failed to allow Plaintiff the requisite 28-day notice
8    requirement as prescribed by Local Rule. On that same day, counsel for Plaintiff reached
9    out to Defendants to respectfully request that the Motion be rescheduled in accordance
10   with the Local Rule’s minimum notice requirement. See Boon Decl. at ¶ 4. Defendants
11   refused.
12         Soon thereafter, the Court sua sponte rescheduled Defendants’ Motion to be
13   heard on June 17, 2019, likely because it had been filed without affording Plaintiff the
14   minimum notice requirement. See Dkt. No. 201. Again, this Minute Order did not set
15   a specified briefing schedule, lending itself to the fact that briefing was to be set by
16   applicable Local Rule.
17         Pursuant to Local Rule 7-9, Plaintiff’s Opposition is therefore due twenty-one (21)
18   prior to the hearing, which is May 27, 2019 and is when the instant Opposition is
19   submitted. See Cent. Dist. L.R., R 7-9. Any contention by Defendant that a specified
20   briefing schedule was established and violated flies in the face of this record.
21         Finally, the fact that the filing deadline is a court holiday has no bearing on
22   Plaintiff’s filing deadline. According to the Rutter Guide: Federal Civil Procedure Before
23   Trial at § 12:102.7, “where local rule measures time backwards from the hearing date, it
24   is uncertain whether the FRCP 6(a)(3) extension until the ‘next day’ means the day
25   preceding or the day following the legal holiday. (For example, where local rule requires
26   service and filing of opposition papers 17 days before the hearing date, and that day is a
27   Sunday, whether the ‘next day’ is the preceding Friday or the following Monday.) There
28   is no known authority on point.
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1          Thus, in an abundance of caution, Plaintiff submits the instant briefing on the legal
2    holiday, which is the date on which the briefing would be due but for the Memorial Day
3    holiday.
4                                               IV.
5                                           Conclusion
6          The Motion for Partial Summary Judgment should be denied.
7
8                                                         Respectfully submitted,
9
10
11
     Dated:     05/27/19
12
                                                          ALEXANDER SIMPSON
13                                                        Counsel for Plaintiff
                                                          LUIS LORENZO VARGAS
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